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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


ALLEN GARLAND,                                        CIVIL NO. 3:20-cv-00269-JPG
    Plaintiff,
                                                      CJRA TRACK: C
         vs
                                                      JURY TRIAL: December 13, 2021
NOVARTIS PHARMACEUTICALS
CORPORATION,                                          JUDGE: J. Phil Gilbert
   Defendant.



                         SCHEDULING AND DISCOVERY ORDER

        Depositions upon oral examination, interrogatories, request for documents, and answers
and responses thereto shall not be filed unless on Order of the Court. Disclosures or discovery
under Rule 26(a) of the Federal Rules of Civil Procedure are to be filed with the Court only to the
extent required by the final pretrial order, other order of the Court, or if a dispute arises over the
disclosure or discovery.

        Having reviewed the Report of the Parties and finding that the parties have complied with
the requirements of Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), the Court hereby
approves and enters the Proposed Scheduling and Discovery Order as submitted by the parties/as
modified at the Pretrial Scheduling and Discovery Conference.

       A Final Pretrial Conference is set for December 1, 2021 at 9:00 a.m. with a Jury Trial date
of December 13, 2021 at 9:00 a.m. before the Honorable J. Phil Gilbert in Benton, IL.

IT IS SO ORDERED.

       DATED: June 5, 2020



                                                       /s/ J. Phil Gilbert
                                                       The Honorable J. Phil Gilbert
                                                       United States District Court Judge




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